IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

In The Matter Of
Case No.: 1:23MCZ2
$42,827.00 in U.S. CURRENCY SEIZED
FROM FIRST BANK ACCOUNTS OF
HEATH ATM, INC.,
and
$1,249,010.24 in U.S. CURRENCY.
ORDER

Upon motion of the United States of America to extend the time within which to
file a civil forfeiture Complaint against the above-named property to and including
September 22, 2023, and the Court having considered same, it is hereby

ORDERED that the time within which the United States has to file a civil forfeiture

Complaint in this action is hereby extended, to and including September 22, 2023.

This the day of , 2023.

UNITED STATES MAGISTRATE JUDGE

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